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                                    BLADEROOM GROUP LIMITED AND BRIPCO
                           8        (UK) LIMITED

                           9
                                                                    UNITED STATES DISTRICT COURT
                        10
                                                              NORTHERN DISTRICT OF CALIFORNIA
                        11
                                                                         SAN JOSE DIVISION
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                                    BLADEROOM GROUP LIMITED, et al.,              Case No. 5:15-cv-01370-EJD
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                                                      Plaintiffs,                 FIRST AMENDED COMPLAINT FOR
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                                           vs.                                    (1) BREACH OF CONTRACT;
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                                    FACEBOOK, INC.                                (2) MISAPPROPRIATION OF TRADE
                        17                                                        SECRETS;
                                                      Defendant.
                        18                                                        (3) VIOLATION OF THE LANHAM ACT
                                                                                  (15 U.S.C. § 1125); and
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                                                                                  (4) UNFAIR BUSINESS
                        20                                                        PRACTICES/UNFAIR COMPETITION

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                           1               Plaintiffs BladeRoom Group Limited (“BRG”) and Bripco (UK) Limited (“Bripco (UK)”)

                           2        (collectively “Plaintiffs”) allege as follows:

                           3                                              NATURE OF ACTION

                           4               1.       In January 2014, Defendant Facebook, Inc. (“Facebook”) announced to the world

                           5        that it had developed a revolutionary new method of constructing large, mission critical data

                           6        centers, which are the buildings that house the vast arrays of computer servers that form the

                           7        backbone of the internet and the high-technology economy. Facebook claimed that it developed

                           8        an innovative, pre-fabricated and modular construction approach and, extolling its benefits,

                           9        encouraged the entire data center industry to shift from traditional construction practices to this
                        10          new method. What Facebook did not disclose, however, was that this methodology and the

                        11          detailed know-how supporting its use had in fact been stolen by Facebook from BRG.

                        12                 2.       BRG spent years developing and refining the methodology that Facebook blithely

                        13          passed off to the world as its own in 2014. During the roughly two and a half years before

                        14          Facebook’s announcement of its supposedly new approach, BRG had disclosed its methods,

                        15          techniques, know-how, and other confidential information and trade secrets to Facebook in an

                        16          extensive series of meetings, conversations, proposals, and presentations. All of BRG’s

                        17          disclosures were made

                        18                                         This action seeks redress for Facebook’s breach of

                        19                                 ; its misappropriation of trade secrets; its passing off of BRG’s unique
                        20          methodology for constructing data centers as its own; and its unfair business practices or unfair

                        21          competition.

                        22                                                           PARTIES

                        23                 3.       Plaintiff BRG is a company organized under the laws of England with a registered

                        24          office at Stella Way, Bishop’s Cleeve, Cheltenham, Gloucestershire GL52 7DQ. Since the late

                        25          2000s, BRG has been in the business of developing and perfecting a method for manufacturing

                        26          and installing pre-fabricated data centers. These data centers, known as “BladeRooms,” are

                        27          constructed using BRG’s unique methodology and innovative pre-fabrication construction,

                        28          shipping, and installation techniques, some of which are publicly known but many of which BRG
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                           1        keeps as confidential trade secrets. The confidential know-how, design, supply chain, fabrication

                           2        and construction techniques, and all other aspects of modular data center construction developed

                           3        by BRG are referred to throughout this Complaint as the “BRG Methodology.”

                           4                 4.    Plaintiff Bripco (UK) is a company organized under the laws of England with a

                           5        registered office at Stella Way, Bishop’s Cleeve, Cheltenham, Gloucestershire GL52 7DQ.

                           6        Bripco (UK) is the legal owner, and BRG is the licensee, of all right, title and interest in all trade

                           7        secrets, know-how, registered and unregistered designs, and confidential information created or

                           8        developed by BRG, including the BRG Methodology.

                           9                 5.    On information and belief, Defendant Facebook is a company organized under the
                        10          laws of Delaware with a principal place of business at 1601 Willow Road, Menlo Park, California

                        11          94025.

                        12                                            JURISDICTION AND VENUE

                        13                   6.    The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

                        14          1332 because there is a complete diversity of citizenship between Plaintiffs and Defendant and

                        15          the amount in controversy exceeds $75,000.

                        16                   7.    This Court has personal jurisdiction over Defendant Facebook because Facebook

                        17          consented to this Court’s jurisdiction for purposes of adjudicating any action

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                        19               .
                        20                   8.    This Court also has personal jurisdiction over Defendant Facebook because

                        21          Plaintiffs’ causes of action against Facebook arise out of or relate to Facebook’s purposeful

                        22          contacts with California, and the exercise of personal jurisdiction over Facebook in this particular

                        23          case would comport with principles of fair play and substantial justice.

                        24                   9.    This Court also has personal jurisdiction over Defendant Facebook because it has

                        25          engaged in systematic and continuous contacts with this State and this County by, inter alia,

                        26          regularly conducting and soliciting business in this State and this County, and deriving substantial

                        27          revenue from products and/or services provided to persons in this State and this County.

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                           1               10.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)–(c) because a

                           2        substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in this district

                           3        and Facebook resides in this judicial district and is subject to this Court’s personal jurisdiction.

                           4               11.     Venue is also proper in this district because by entering into

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                           6                                 were to be resolved by the federal or state courts located in Santa Clara

                           7        County.

                           8                                        INTRADISTRICT ASSIGNMENT

                           9               12.     This action is an Intellectual Property Action subject to district-wide assignment.
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                        14                                             FACTUAL ALLEGATIONS

                        15          BRG, Bripco (UK), and the BRG Methodology

                        16                 13.     Over the course of 25 years, the founders and senior leadership of BRG developed

                        17          deep expertise in the pre-fabricated, modular construction of buildings that have specific air-

                        18          handling requirements. They acquired this experience by designing and supplying mission-

                        19          critical modular buildings with complex mechanical and electrical components, including
                        20          industrial kitchens and hospital facilities such as operating theaters and clean rooms, to major

                        21          institutions around the world. Their approach to these projects was to always maximize

                        22          efficiency and precision by pre-fabricating in a factory as many elements of each building as

                        23          possible, then transporting them to site. In 2008, BRG’s directors came to realize that the fast-

                        24          growing, multibillion dollar per year data center industry was an area where pre-fabrication and

                        25          modular construction techniques could provide significant benefits. They decided to develop a

                        26          pre-fabricated data center product that could take full advantage of their experience and expertise.

                        27                 14.     Data centers are extremely complex structures. The backbone of the internet and

                        28          high-technology economy, they are where companies securely house their computer servers and
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                           1        maintain the appropriate climate for them. Precise construction standards and temperature and

                           2        humidity controls in these buildings are essential because of the heat that rows upon rows

                           3        containing racks upon racks of servers generate while operating. This enormous amount of heat

                           4        can damage the servers if it is not efficiently and effectively removed.

                           5                  15.    Before BRG developed its innovative approach, it analyzed the market and found

                           6        that companies that were then providing large, enterprise-level data centers used a standard “stick

                           7        built” approach to construction. In other words, the data centers were built traditionally by a

                           8        large team that included architects and consultants who would develop the design for the data

                           9        centers, general contractors to supervise construction, specialist sub-contractors, mechanical and
                        10          structural engineers, cost managers, on-site tradesmen, and more.

                        11                    16.    Using its existing expertise in constructing mission critical modular facilities,

                        12          BRG set out to develop a better, faster, and more cost-effective way to build, deliver, and install

                        13          large, mission-critical data centers. BRG devoted substantial resources to refining its methods

                        14          and designs. The resulting innovations, designs, know-how and technological developments are

                        15          collectively embodied in the BRG Methodology and a data center product called the

                        16          “BladeRoom.”

                        17                    17.    The BRG Methodology offers many benefits over traditional methods of

                        18          construction. Using the BRG Methodology, BRG can construct large, enterprise-level data

                        19          centers
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                        27                    18.    BRG installed its first data centers in 2009, and the company has grown rapidly

                        28          since that time. Due to the innovation and benefits offered by the BRG Methodology, BRG has
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                           1        achieved significant success, and today there are over 40 BladeRooms built by BRG operating on

                           2        four continents, which are used by national governments and some of the world’s most

                           3        prestigious and well-known companies. BRG’s innovations have been recognized with industry

                           4        awards, including the Green Enterprise IT award from the Uptime Institute, a well-known

                           5        standard-setting organization within the data center industry.

                           6               19.     The BRG Methodology involves information, compilations, techniques, designs,

                           7        know-how, methods, and processes that are trade secrets. The specific trade secrets included

                           8        within the BRG Methodology that Plaintiffs believe Facebook has misappropriated are explained

                           9        in detail in the October 30, 2015 Disclosure of Plaintiffs’ Trade Secrets Under California Code of
                        10          Civil Procedure § 2019.210, attached as Exhibit B. A declaration supporting the disclosure by

                        11          Paul Rogers, BRG’s Chief Executive Officer, is attached as Exhibit C. Plaintiffs served Exhibits

                        12          B and C on Facebook on October 30, 2015. In a telephone conference between both parties’

                        13          counsel on November 5, Facebook’s counsel represented that Facebook would not contest the

                        14          sufficiency of the disclosure of trade secrets and that discovery was open. The parties have

                        15          engaged in discovery since that time.

                        16                 20.     Some aspects of the BRG Methodology are the subject of granted patents and

                        17          pending patent applications, while others are kept as trade secrets or confidential and proprietary

                        18          information. However, the trade secrets identified in Exhibit B were not publicly known in the

                        19          data center construction industry at the time BRG disclosed them to Facebook. (See Ex. C ¶¶ 2–
                        20          7.) Plaintiffs developed their intellectual property over several years at great effort and expense.

                        21          Bripco (UK) owns the trade secrets, know-how, trademarks, design rights, and confidential

                        22          proprietary information, while BRG is its licensee.

                        23                 21.     Bripco (UK) and BRG protect Bripco (UK)’s trade secrets and confidential and

                        24          proprietary information—including the trade secrets identified in Exhibit B—by limiting the

                        25          content of any public disclosure and ensuring that private disclosure to potential clients, suppliers,

                        26          and others is covered by non-disclosure agreements. Computer systems containing the trade

                        27          secrets are password-protected. Facilities where the trade secrets are stored are physically

                        28          secured. Visitors are prevented from accessing the trade secrets unless under a non-disclosure
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                           1        agreement. Employee access to the trade secrets is limited to those employees with a need to

                           2        know. Employees must sign agreements requiring them to keep confidential trade secrets and

                           3        proprietary information they learn in BRG’s employ and requiring the return of any trade secrets

                           4        and proprietary information materials at the termination of employment.

                           5

                           6               22.     In late October 2011, BRG was confident in its growing global reputation, and it

                           7        contacted Facebook to promote BladeRooms and the BRG Methodology. Facebook, at least

                           8        initially, was reluctant to engage with BRG and was dismissive of the idea that a pre-fabricated,

                           9        modular data center could meet Facebook’s needs. Facebook expressed satisfaction and
                        10          confidence that it had already found the right approach, which was a traditional stick-built

                        11          approach, and it directed BRG to view what it had published around six months earlier when it

                        12          had publicly announced the completion of its first company-owned data center in Prineville,

                        13          Oregon. But BRG had much to offer Facebook, and soon Facebook agreed to further discussions

                        14          with BRG to learn more about the BRG Methodology.

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                           3        BRG’s Confidential Disclosures of the BRG Methodology to Facebook and Facebook’s
                                    Partners
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                                           31.                                                                   Facebook urgently
                           5
                                    requested a written proposal to supply BladeRooms for a Facebook data center in North Carolina.
                           6
                                    BRG responded with a detailed proposal on November 25, 2011, which it marked
                           7
                                    “COMMERCIAL IN CONFIDENCE.” The proposal included details about the BRG
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                                    Methodology, including Bripco (UK) trade secrets. For example, the proposal included
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                                           32.     Feedback from Facebook on this proposal was positive, and Facebook quickly
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                                    began asking to learn even more details about the BRG Methodology. On March 15, 2012, BRG
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                                    met with Jay Park (Facebook’s Director of Data Center Design and Construction) and Marco
                        20
                                    Magarelli (Facebook’s Senior Design Engineering Manager) in Facebook’s offices in Palo Alto,
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                                    California to discuss Facebook’s interest in using BladeRooms at its various data center sites,
                        22
                                    including in the forthcoming second phase of its data center campus in Luleå, Sweden.
                        23
                                           33.     Eight days later, on March 23, 2012, Jay Park and Tom Furlong (Facebook’s Vice
                        24
                                    President of Site Operations) traveled to England to meet with BRG in person. During their visit,
                        25
                                    BRG provided Mr. Park and Mr. Furlong with more written materials about BladeRooms and the
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                                    BRG Methodology. These materials were also marked “COMMERCIAL IN CONFIDENCE,”
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                                    and they included further confidential information and trade secrets, including:
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                           3                                 So that Facebook’s senior personnel could see for themselves what the BRG

                           4        Methodology was already delivering in practice to BRG’s clients around the world and to

                           5        illustrate to them that the BRG Methodology could successfully provide the kind of enterprise-

                           6        level data centers that Facebook required, BRG also took Mr. Park and Mr. Furlong on a tour of

                           7        an operating BladeRoom to prove the technology. This tour of a large-scale, fully operational

                           8        data center campus employing multiple BladeRoom data halls included a confidential discussion

                           9        with BRG’s client operating the BladeRoom, demonstrating to Facebook that the BRG
                        10          Methodology was successful in practice, commercially viable, and suitable to the needs of large,

                        11          multinational clients.

                        12                 34.     Visibly impressed with the operational BladeRoom and the innovative BRG

                        13          Methodology, Facebook continued to request yet more detailed confidential information from

                        14          BRG. In particular, at the conclusion of the March 23 visit, Mr. Park suggested that the next step

                        15          should be for a team of Facebook design and engineering staff to travel to BRG in England for an

                        16          in-depth workshop with BRG’s technical teams to enable Facebook to learn more and for both

                        17          parties to collaboratively determine the technical details of how the BRG Methodology and

                        18          BladeRooms could be used to meet Facebook’s data center needs.

                        19                 35.     While the parties exchanged communications to arrange for the in-depth workshop
                        20          that Mr. Park had proposed, Facebook took yet more steps to learn further details about the BRG

                        21          Methodology. On May 29 and May 30, 2012, at Facebook’s invitation, BRG attended a two-day

                        22          meeting at the Facebook data center campus in Prineville. BRG had been told that the purpose of

                        23          the meeting was for BRG to survey and physically see the functionality of a Facebook data center

                        24          and meet Facebook’s lead architect and engineers. On information and belief, Facebook was also

                        25          working on a modular design for a new data center for its Prineville data center campus, and it

                        26          wished to learn whether BRG’s designs and technology could meet its needs for that installation.

                        27          However, at the meeting, BRG’s personnel were surprised to find present not only Facebook’s in-

                        28          house architect and engineers but also a team of third party architects and general contractors that
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                           1        had helped build Facebook’s previous data center at Prineville. These included representatives

                           2        from architectural and construction firms SP Arch, AlfaTech, and Fortis. Facebook asked BRG

                           3        to present and discuss BladeRooms and the BRG Methodology with these Facebook contractors,

                           4        which BRG did, again disclosing trade secrets and additional confidential information

                           5                                                       Facebook told the BRG representatives at this

                           6        meeting that BRG would be asked to submit a proposal for delivery of an expansion to

                           7        Facebook’s Prineville data center campus using BladeRooms. Because these third party

                           8        architects and general contractors were Facebook’s                 any disclosures to them were

                           9
                        10                 36.      After inducing BRG to disclose confidential information and trade secrets to its

                        11          construction consultant, Fortis, Facebook solicited bids for the construction of the new data center

                        12          at Prineville. On information and belief, with Facebook’s knowledge, Fortis submitted a proposal

                        13          to Facebook that relied on confidential information BRG had disclosed

                        14                       during the May 2012 meeting and in other BRG materials provided to Facebook. On

                        15          information and belief, Facebook later accepted Fortis’ proposal that relied on confidential BRG

                        16          information and awarded Fortis a contract to construct the new data center at Prineville.

                        17                 37.      BRG was not aware at the time that, as a result of Facebook’s actions, Fortis

                        18          would misuse BRG’s confidential information in preparing a bid for the Prineville data center.

                        19          BRG continued to collaborate with Facebook and prepare for the in-depth workshop that Mr. Park
                        20          had proposed. The intensive workshop began on June 19, 2012, with BRG hosting a team from

                        21          Facebook that included Mr. Magarelli and two other Facebook employees involved in Facebook’s

                        22          data center design and engineering efforts, Tin Tse and Paul Hsu (Facebook’s Director of Data

                        23          Center Strategic Engineering).

                        24                 38.      By the end of the intensive workshop on June 21, 2012, the Facebook team had

                        25          toured a large-scale, fully operational data center campus employing multiple BladeRoom data

                        26          halls and been provided with full access to BRG’s operations, including a detailed walkthrough of

                        27          an operational BladeRoom; a tour of the BRG assembly facility, including inspection of the

                        28          assembly process; review of BladeRoom manuals; and an intensive meeting that included a line-
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                           1        by-line comparison of the components and systems employed in BladeRooms versus those in

                           2        Facebook’s data centers. They also received additional documentation from BRG, again marked

                           3        “COMMERCIAL IN CONFIDENCE,” that included Bripco (UK) trade secrets and confidential

                           4        information, including:

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                           7                                                                                              Together,

                           8        these materials, discussions, and demonstrations disclosed almost every aspect of the BRG

                           9        Methodology.
                        10                 39.     The BRG and Facebook engineering teams collaborated in great technical detail

                        11          throughout the workshop at BRG’s facilities. Near the end of these meetings, Mr. Magarelli told

                        12          BRG’s representatives: “The only thing more impressive than your product is your business.” He

                        13          said that he could see Facebook using BRG’s technology on a large scale.

                        14                 40.     During the workshop, the BRG and Facebook engineering teams playfully

                        15          referenced Ikea’s approach of flat-packing and home assembly of furniture to summarize the

                        16          BRG Methodology and how it greatly simplified the very complex task of constructing

                        17          warehouse-sized data centers. After the end of the workshop had concluded, the BRG team

                        18          emailed Mr. Magarelli and the Facebook team and included an image of an Ikea Allen key as a

                        19          light-hearted memento of the visit.
                        20                 41.

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                        23                                                     Around June 2012, Emerson sold data centers that

                        24          were built out of pre-constructed volumetric boxes. Under this approach, multiple finished boxes

                        25          are shipped to the construction site and located together to form the finished data center. BRG

                        26          had used a volumetric box approach in 2009 and 2010 but found that it would not be an effective

                        27          method for constructing warehouse-sized data centers. BRG invented the BRG Methodology to

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                           1        provide an innovative solution for modular construction of warehouse-sized data centers that was

                           2        different than any other approach available on the market.

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                           7                                                       BRG never imagined that Facebook would end up

                           8        stealing the BRG Methodology and partnering with Emerson to construct its data centers using

                           9        BRG’s trade secrets and confidential information.
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                        19                 44.     Without disclosing it to BRG, on information and belief, the Facebook team left
                        20          the workshop at the end of the third day and immediately traveled to a pre-arranged, clandestine

                        21          meeting with Emerson’s representatives in London on the evening of June 21, 2012. On

                        22          information and belief, at this meeting, Emerson and Facebook discussed the BRG Methodology

                        23          and compared notes on what each had learned from BRG’s confidential disclosures to them.

                        24                 45.     Facebook continued to indicate that it was interested in partnering with BRG to

                        25          meet its future data center needs, and it continued to request more proposals and more

                        26          information from BRG. In July 2012, in response to Facebook’s requests, BRG submitted two

                        27          more lengthy and detailed proposals for the delivery of BladeRooms at Facebook’s sites in

                        28          Prineville and Luleå. Each proposal, like the written presentation materials about BladeRooms
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                           1        that BRG had previously provided to Facebook, were marked “COMMERCIAL IN

                           2        CONFIDENCE,” and included Bripco (UK) trade secrets and confidential information about the

                           3        BRG Methodology, including:

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                           9                46.    In addition to the communications described above, BRG disclosed to Facebook
                        10          Bripco (UK) trade secrets and confidential information, including but not limited to

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                        14          Facebook Partners with Emerson to Build the Second Phase of Its Data Center Campus in

                        15          Luleå

                        16                  47.    Despite visiting BRG twice, soliciting numerous proposals, and conducting many

                        17          meetings and calls with BRG, Facebook never placed an order for BladeRooms with BRG.

                        18          Instead, Facebook, together with Emerson, simply stole the BRG Methodology and passed it off

                        19          as its own. In May 2014, Facebook announced that it had awarded Emerson a contract to
                        20          construct a pre-fabricated, modular data center for the second phase of its Luleå, Sweden campus.

                        21          On information and belief, the design and construction process for the Luleå phase two data

                        22          center that Emerson has constructed for Facebook incorporates Bripco (UK) trade secrets and

                        23          other confidential information about the BRG Methodology.

                        24                  48.    Publicly available information about the construction of the data hall of phase two

                        25          of the Luleå data center campus shows that Facebook is using components of the BRG

                        26          Methodology and concepts and techniques that BRG developed

                        27                                                            For example, photos of the construction at

                        28          phase two of the Luleå site show that Facebook used the modular construction techniques
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                           1        disclosed by BRG for this data center instead of the traditional, stick-built approach that

                           2        Facebook has used for all its previous data centers (including the first phase of the Luleå campus).

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                           6               49.     Facebook continued to demonstrate interest in using BRG’s technology for data

                           7        center projects through 2012 and 2013. For example, in July 2013, Facebook asked BRG to

                           8        submit an unsolicited proposal for a modular data center, and in October 2013, Facebook asked

                           9        BRG to submit a proposal involving the BRG Methodology for another data center project in
                        10          Altoona, Iowa. BRG is informed and believes that, at around the same time, Facebook engaged

                        11          Emerson and the architectural firm SP Arch to develop a modular design and construction

                        12          approach for the Altoona data center using designs and methods that BRG had shared with

                        13          Facebook. At Facebook’s request, SP Arch produced at least one design for a data center that

                        14          incorporated confidential and trade secret designs and information that BRG provided to

                        15          Facebook.

                        16          Facebook Discloses Confidential Information About the BRG Methodology on OpenCompute

                        17                  The January 2014 OpenCompute Presentation

                        18                 50.     Facebook’s misdeeds might never have come to light had it decided that simply

                        19          stealing BRG’s intellectual property was enough. Instead, Facebook went further when it decided
                        20          to encourage and induce others to use BRG’s intellectual property as well by revealing BRG’s

                        21          confidential information through an initiative created by Facebook called the “OpenCompute

                        22          Project” (“OpenCompute”).

                        23                 51.     According to the initiative’s website, available at

                        24          http://www.opencompute.org/about, the goal of OpenCompute is to give the public “full access to

                        25          the[] specifications” used by Facebook in its data centers in order to “spark a collaborative

                        26          dialogue” about how to improve its approach to data centers. Thus, market participants and

                        27          consumers in the data center industry understand that designs, specifications, methods, and other

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                           1        information shared through the OpenCompute project have been donated to the public as “open

                           2        source” material and may be used by others free of charge.

                           3               52.     Facebook claims to share its data center designs and information openly with the

                           4        public through OpenCompute in order to induce as many companies as possible to adopt its

                           5        specifications and to encourage as many suppliers as possible to provide goods and services in

                           6        compliance with its data center designs. By promoting widespread adoption of its specifications

                           7        for data center technology, Facebook seeks a great commercial benefit—reduction in costs and

                           8        the eventual commoditization of products needed to build data centers as a result of suppliers

                           9        vying against each other for Facebook’s business. Facebook claims that this approach has saved
                        10          it billions of dollars. For example, during a January 28, 2014 Q&A session at an OpenCompute

                        11          conference, Facebook’s CEO, Mark Zuckerberg, was asked why the company decided to make all

                        12          OpenCompute designs “open source.” As part of his response, Mr. Zuckerberg stated: “In the last

                        13          three years alone, Facebook has saved more than a billion dollars in building out our

                        14          infrastructure using OpenCompute designs.” A video of this conversation is available at

                        15          https://www.youtube.com/watch?v=imwHX_dlpIw&feature=youtu.be. Mr. Zuckerberg’s

                        16          comment begins at about the 3:42 mark.

                        17                 53.     Similarly, on March 10, 2015, a member of Facebook’s engineering department

                        18          posted online that, through OpenCompute, Facebook had “open-sourced every major physical

                        19          component of our data center stack,” which had “saved us $2 billion in infrastructure costs over
                        20          the last three years.” The blog post is available here:

                        21          https://code.facebook.com/posts/1538145769783718/open-compute-project-u-s-summit-2015-

                        22          facebook-news-recap/.

                        23                 54.     On January 28, 2014, approximately 18 months after attending the in-depth

                        24          workshop at BRG’s facilities in England, Mr. Magarelli made a public presentation at the same

                        25          OpenCompute forum in San Jose, California where Mr. Zuckerberg made his comments about the

                        26          cost savings achieved through OpenCompute. Mr. Magarelli’s presentation focused on

                        27          Facebook’s brand new “rapid deployment data center” or “RDDC method.” A video of Mr.

                        28          Magarelli’s presentation was posted to YouTube at
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                           1        http://www.youtube.com/watch?v=yu8jin33G64. Mr. Magarelli’s presentation begins around the

                           2        21:49 mark.

                           3               55.     In his presentation of the RDDC, Mr. Magarelli explains that Facebook was

                           4        looking for ways to use construction methods that would allow it to deliver twice the amount of

                           5        data space in about half the normal time. Mr. Magarelli explains that many of the concepts

                           6        underlying the RDDC were developed with “vendors.” He notes that “lean construction

                           7        approaches are often used in hospital buildings.” On information and belief, BRG is the only

                           8        supplier of modular data centers whose predecessors also had experience delivering modular

                           9        hospital buildings.
                        10                 56.     The RDDC method that Mr. Magarelli describes is the BRG Methodology that

                        11          Facebook stole and re-marketed with a different name.

                        12                 57.     For example, in his presentation, Mr. Magarelli states that Facebook considered

                        13                                     but they                                    Instead, the RDDC method

                        14          calls for building

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                        17                 58.     Mr. Magarelli’s presentation shows that Facebook’s RDDC copied BRG’s

                        18                                too, even using the exact same language to describe this structure.

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                        24                 59.     Mr. Magarelli’s presentation also shows an animation of

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                           3               60.      Mr. Magarelli states:

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                           6               61.      Mr. Magarelli further states that the RDDC method provides

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                        13                                          In his presentation, Mr. Magarelli compares this to the “Ikea

                        14          model” for shipping products, an apparent reference to the discussions between Facebook and

                        15          BRG during the June 2012 workshop.

                        16                 63.      RDDC, as presented by Mr. Magarelli, is copied from the BRG Methodology.

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                        19                       But Mr. Magarelli does not mention BRG or BladeRooms in his presentation.
                        20                 64.      Facebook’s actions have caused direct competitive harm to BRG. Facebook, on its

                        21          own and in collaboration with Emerson, stole the BRG Methodology, called it by another name

                        22          (RDDC), then passed off the BRG Methodology as its own. At the OpenCompute presentation,

                        23          Facebook portrayed RDDC as its own method for the modular construction of warehouse-sized

                        24          data centers. Facebook took the BRG Methodology, disclosed it to the public as RDDC, and

                        25          encouraged the data center industry to take the BRG Methodology and further develop it to build

                        26          the data centers of the future. By claiming that RDDC is its own methodology, Facebook has

                        27          positioned itself as an innovator of data center construction in direct competition with BRG.

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                           1               65.     Facebook also encouraged and induced Emerson, a global company with vast

                           2        resources, to adopt RDDC and offer it to the public in direct competition with BRG. In its 2014

                           3        Annual Report to shareholders, Emerson states that it “collaborated with Facebook to create the

                           4        new ‘rapid deployment data center’ (RDDC).” Whereas before Facebook’s acts, BRG was the

                           5        only company in the world offering its unique Methodology, Emerson now seeks to expand its

                           6        practice, publicly offering to construct warehouse-sized data centers using the RDDC method.

                           7        Emerson boasts that this “new-to-the world data center approach . . . combines the best of factory-

                           8        built components with lean construction techniques, resulting in a data center that is more

                           9        efficient, uses less material and deploys faster.” In the same annual report, Emerson projects
                        10          “near-term improvement in the data center business.”

                        11                 The March 2014 OpenCompute Blog Post

                        12                 66.     Facebook continued to misuse and misappropriate BRG’s confidential information

                        13          and Bripco (UK)’s trade secrets. On March 7, 2014, Mr. Magarelli also authored and published

                        14          an OpenCompute blog post about or RDDC that provides further details showing it is a copy of

                        15          the BRG Methodology. The blog post may be accessed at

                        16          http://www.opencompute.org/blog/faster-leaner-smarter-better-data-centers.

                        17                 67.     In his blog post, Mr. Magarelli claims that the RDDC concept began with what he

                        18          terms as a “hack”: “In October 2012, our data center strategic engineering and development team

                        19          and several experts in lean construction came together to hack on a design for a data center that
                        20          would look less like a construction project and more like a manufactured product.” The blog post

                        21          further confirms that RDDC, as described by Mr. Magarelli in his presentation and blog post, is

                        22          nothing more than the BRG Methodology re-packaged and offered by Facebook.

                        23                 68.     For example, the blog describes additional details of

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                           3                  69.    Mr. Magarelli’s blog post also describes RDDC’s use of

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                        12                    71.     Some of the hoped-for benefits of RDDC that Mr. Magarelli cites in his blog post

                        13          include

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                        20                                                                   These are all benefits that BRG taught

                        21          Facebook that could be achieved using the BRG Methodology. Mr. Magarelli concludes his blog

                        22          post with news that Facebook planned to use the RDDC designs in the construction of their

                        23          second data center in Luleå. The blog post emphasizes that Facebook’s RDDC is a “new

                        24          approach to data center design.”

                        25                    72.    Three days after Mr. Magarelli published his blog post about RDDC,

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                           6                                             Again, Mr. Magarelli does not mention BRG or BladeRooms

                           7        in his blog post or make any attempt to attribute or credit BRG for the innovative new approach

                           8        he falsely claimed was Facebook’s.

                           9               74.     Mr. Magarelli’s January presentation and March blog post do not disclose
                        10          Facebook’s own methodology, but rather the BRG Methodology, including BRG’s confidential

                        11          and trade secret information

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                        14                                                On information and belief, dozens of companies that are

                        15          consumers in the market for data center design sent representatives to the OpenCompute forum

                        16          where Mr. Magarelli made his announcement in January 2014. Mr. Magarelli’s presentation and

                        17          his blog post were also widely covered in the data center industry media, where BRG’s

                        18          competitors in data center design and construction and additional consumers in the data center

                        19          design market learned of his statements about RDDC.
                        20                 75.     On information and belief, at the time he made the statements concerning RDDC

                        21          in his OpenCompute presentation and blog post, Mr. Magarelli knew that RDDC was a copy of

                        22          the BRG Methodology and that it incorporated confidential and trade secret information that

                        23          Facebook had obtained from BRG. Mr. Magarelli was present at the workshop with BRG in June

                        24          2012, and he personally learned BRG confidential and trade secret information in the form of

                        25          presentations, written materials, and factory and site visits, among other things.

                        26                 76.     On information and belief, Mr. Magarelli was acting within the scope of his

                        27          employment and was acting as a Facebook agent and representative at all times mentioned in this

                        28          Complaint.
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                           1                                           FIRST CAUSE OF ACTION

                           2                                               (Breach of Contract)

                           3               77.      Plaintiffs incorporate by reference as though set forth herein each of the preceding

                           4        allegations of Paragraphs 1 through 76 of this Complaint.

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                        16                 81.      In the alternative, to the extent that Facebook did not breach any term of

                        17                                   it breached the covenant of good faith and fair dealing by unfairly

                        18          interfering with Plaintiffs’ right to receive the benefit of the contract. The parties contemplated

                        19          that one of the benefits of
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                        24                 82.      As a direct and proximate result of Facebook’s breaches of

                        25                       (or, alternatively, of the covenant of good faith and fair dealing), BRG has suffered

                        26          damages, and Facebook has been unjustly enriched, in an amount to be determined at trial.

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                           1               83.     Facebook’s breaches have caused and continue to cause BRG irreparable harm that

                           2        cannot be fully redressed through damages alone. An injunction as set forth herein is necessary to

                           3        provide BRG with complete relief.

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                           5                                         SECOND CAUSE OF ACTION

                           6                                      (Misappropriation of Trade Secrets)

                           7               84.     Plaintiffs incorporate by reference as though set forth herein each of the preceding

                           8        allegations of Paragraphs 1 through 76 of this Complaint.

                           9               85.     Plaintiff Bripco (UK) is the owner of trade secrets as defined by California’s
                        10          Uniform Trade Secrets Act, Civil Code sections 3426–3426.11.

                        11                 86.     Plaintiff Bripco (UK)’s trade secrets include but are not limited to information

                        12          regarding

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                        23                                                                                              The specific

                        24          trade secrets that, at this time, Plaintiffs believe Facebook has misappropriated are identified in

                        25          Exhibit B, and supporting facts concerning the secrecy of the trade secrets at the time of

                        26          disclosure are provided in Exhibit C.

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                           1               87.       Bripco (UK)’s trade secrets derive independent actual and potential economic

                           2        value from not being generally known or available to the public or other persons who can obtain

                           3        economic value from their disclosure or use.

                           4               88.       Bripco (UK)’s trade secrets have significant value, resulting from significant

                           5        investment of time and resources.

                           6               89.       Bripco (UK) and BRG have made, and continue to make, efforts that are

                           7        reasonable under the circumstances to maintain the secrecy of its trade secrets.

                           8               90.       The Bripco (UK) trade secrets identified in Exhibit B were trade secrets at the time

                           9        that they were
                        10                 91.       Facebook improperly used Bripco (UK)’s trade secrets without Bripco (UK)’s

                        11          consent and at the time of such use, knew, or had reason to know that its knowledge of Bripco

                        12          (UK)’s trade secrets

                        13                                                                                                Facebook

                        14          improperly used Bripco (UK)’s trade secrets, for example, in its development of its RDDC, which

                        15          it deployed and plans to deploy on its own or with the assistance of third parties.

                        16                 92.       Facebook improperly disclosed Bripco (UK)’s trade secrets without Bripco (UK)’s

                        17          consent and at the time of such disclosure, knew or had reason to know that its knowledge of

                        18          Bripco (UK)’s trade secrets

                        19                                                                                      For example, on
                        20          information and belief, Facebook disclosed Bripco (UK)’s trade secrets to Emerson and employed

                        21          Bripco (UK)’s trade secrets in its construction of the second phase of its Luleå data center

                        22          campus. Facebook also disclosed Bripco (UK)’s trade secrets to its architecture consultant, SP

                        23          Arch, and asked SP Arch to incorporate elements of Bripco (UK)’s trade secrets into a design for

                        24          a Facebook data center. Facebook also improperly disclosed Bripco (UK)’s trade secrets when it

                        25          disclosed to various potential contractors its design for the second phase of Facebook’s Luleå data

                        26          center campus.

                        27                 93.       As a natural and proximate result of Facebook’s misappropriation, Plaintiffs have

                        28          suffered injury and harm. For example, as a direct consequence of Facebook’s actions, Emerson
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                           1        is now offering to construct warehouse-sized data centers using BRG’s methodology in direct

                           2        competition with BRG, whereas before, BRG was the only company in the world offering its

                           3        methodology. In addition, BRG’s reputation and business have been harmed by Facebook’s

                           4        misappropriation and subsequent sharing of BRG’s information to BRG’s competitors, including

                           5        any potential loss of customers due to Facebook’s actions. Facebook’s actions also harmed

                           6        BRG’s reputation as an innovative company offering a brand new, unique methodology for

                           7        constructing warehouse-sized data centers.

                           8               94.     Facebook has been unjustly enriched, in amounts according to proof. Facebook

                           9        benefitted from the information BRG provided it in multiple ways. Facebook used the
                        10          information and the confidence in BRG’s concepts it had gained from the proof of concept visits

                        11          to inspire, direct, and develop the designs for phase two its data center campus in Luleå, Sweden.

                        12          Facebook also copied the BRG Methodology and presented it as its own, calling it RDDC,

                        13          resulting in an enhancement of Facebook’s reputation as an innovator in data center design.

                        14                 95.     Facebook’s benefit came at BRG’s expense. Because Facebook failed to identify

                        15          the BRG Methodology and instead called it RDDC, BRG’s reputation as an innovator in data

                        16          center design was not enhanced whereas Facebook’s was. On information and belief, Facebook’s

                        17          public disclosures and endorsement of BRG’s methods and practices without acknowledging

                        18          BRG’s rights over them has also inspired, encouraged, and given confidence to competitors

                        19          (including Emerson) to use the BRG Methodology in competition with BRG. Additionally, it
                        20          would have taken Facebook much longer and cost Facebook much more money to develop the

                        21          design for its Luleå and other data center campuses had it not misused BRG’s methods and

                        22          approach for its own benefit.

                        23                 96.     Facebook has never compensated BRG for the benefit that it received from BRG.

                        24                 97.     Facebook’s trade secret misappropriation has caused and continues to cause

                        25          Bripco (UK) irreparable harm that cannot be fully redressed through damages alone. An

                        26          injunction as set forth herein is necessary to provide Bripco (UK) with complete relief.

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                           1               98.     In misappropriating Bripco (UK)’s trade secrets, Facebook acted willfully and

                           2        maliciously. Bripco (UK) is thus entitled to punitive and exemplary damages against Facebook

                           3        pursuant to section 3426.3(c) of the Civil Code.

                           4                                          THIRD CAUSE OF ACTION

                           5                                 (Violation of the Lanham Act, 15 U.S.C. § 1125)

                           6               99.     Plaintiffs incorporate by reference as though set forth herein each of the preceding

                           7        allegations of Paragraphs 1 through 76 of this Complaint.

                           8               100.    Facebook’s acts described above violate the Lanham Act, 15 U.S.C.

                           9        § 1125(a)(1)(A).
                        10                 101.    Facebook falsely identified itself and its contractors as the origin of RDDC. In

                        11          reality, RDDC is the BRG Methodology, falsely re-labeled and presented to the public by

                        12          Facebook. Facebook obtained the BRG Methodology from BRG, renamed it RDDC, and falsely

                        13          passed off this method as its own.

                        14                 102.    Facebook’s acts are likely to cause confusion as to the true origin of RDDC.

                        15          Consumers in the data center industry viewing Mr. Magarelli’s presentation or blog post would

                        16          probably assume that RDDC is associated with Facebook.

                        17                 103.    Facebook’s acts have harmed Plaintiffs. By portraying itself as an innovator of

                        18          data center design and providing RDDC to the OpenCompute community and the public in

                        19          general, Facebook competes with BRG as a data center design provider and innovator. With its
                        20          business partners, BRG provides to its data center customers a complete service from design to

                        21          manufacturing and assembly of the data center. BRG also licenses the BRG Methodology to data

                        22          center customers and data center providers. Facebook destroyed BRG’s licensing market by

                        23          providing through the OpenCompute forum the core components of BRG’s Methodology to data

                        24          center customers and data center providers. BRG has also suffered loss of goodwill and loss of

                        25          reputation because potential customers are unlikely to view the BRG Methodology as innovative

                        26          or proprietary to BRG.

                        27                                          FOURTH CAUSE OF ACTION

                        28                                   (Unfair Business Practices/Unfair Competition,
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                           1                                      Bus. and Prof. Code § 17200, et seq.)

                           2               104.    Plaintiffs incorporate by reference as though set forth herein each of the preceding

                           3        allegations of Paragraphs 1 through 76 of this Complaint.

                           4               105.    Facebook’s acts described above constitute unfair business practices and unfair

                           5        competition as defined by California Business & Professions Code § 17200, et seq.

                           6               106.    In particular, at least the following acts by Facebook were unlawful business acts:

                           7        Facebook’s use of Bripco (UK)’s trade secrets to develop and direct its RDDC approach, which it

                           8        deployed and plans to deploy on its own or with the assistance of third parties; its inducement of

                           9        BRG to disclose Bripco (UK) trade secrets to BRG’s competitors, such as SP Arch, AlfaTech,
                        10          and Fortis; its discussion of Bripco (UK) trade secrets with Emerson without authorization; its

                        11          disclosure of Bripco (UK) trade secrets to other contractors; its disclosure of BRG’s confidential

                        12          information to the world through its OpenCompute presentation and blog post; and its efforts to

                        13          pass off the BRG Methodology as its own, rather than as Plaintiffs’.

                        14                 107.    In addition, at least the following acts by Facebook were unfair business acts: By

                        15          portraying itself as an innovator of data center design and providing the plans for RDDC to the

                        16          OpenCompute community and the public in general, Facebook competes with BRG as a data

                        17          center design provider and innovator. With its business partners, BRG provides to its data center

                        18          customers a complete service from design to manufacturing and assembly of the data center.

                        19          BRG also licenses the BRG Methodology to data center customers and data center providers.
                        20          Facebook destroyed BRG’s licensing market by providing through the OpenCompute forum a

                        21          copy of the BRG Methodology to data center customers and data center providers. By passing off

                        22          the BRG Methodology as its own and encouraging potential BRG competitors to adopt it,

                        23          Facebook has irreparably damaged fair competition in the market for data center design. In

                        24          addition, Facebook directly induced Emerson to become BRG’s direct competitor in the modular

                        25          data center construction market by partnering with Emerson to implement the RDDC approach

                        26          and by allowing Emerson to offer this approach to other customers.

                        27                 108.    In addition, Facebook’s misappropriation of Bripco (UK)’s trade secrets and its

                        28          violations of the Lanham Act were unlawful acts.
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                           1               109.    As a direct and proximate result of Facebook’s wrongful conduct, Plaintiffs have

                           2        been injured in fact. For example, as a direct consequence of Facebook’s actions, Emerson is

                           3        now offering to construct warehouse-sized data centers using a method in direct competition with

                           4        BRG, whereas before, BRG was the only company in the world offering its methodology.

                           5        Facebook’s actions have undermined BRG’s ability to fairly compete in both the market for data

                           6        center design and the market for modular construction of warehouse-sized data centers. Such

                           7        harm will continue unless Facebook’s acts are enjoined by the Court. Plaintiffs have no adequate

                           8        remedy at law for Facebook’s continued acts of unfair business practices and unfair competition.

                           9                                             PRAYER FOR RELIEF
                        10                 WHEREFORE, Plaintiffs pray for judgment against Facebook as follows:

                        11                 1.      Damages from Facebook according to proof;

                        12                 2.      Disgorgement from Facebook of unjust enrichment according to proof;

                        13                 3.      For preliminary and permanent injunctive relief to enjoin Facebook and its agents,

                        14          servants, and employees, and all persons acting under, in concert with, or for it, from using or

                        15          disclosing any of Bripco UK’s trade secrets, confidential know-how, and proprietary information

                        16          regarding BladeRooms, in any way;

                        17                 4.      For preliminary and permanent injunctive relief requiring Facebook and its agents,

                        18          servants, and employees, and all persons acting under, in concert with, or for it, to return all trade

                        19          secrets and confidential and proprietary information acquired from Plaintiffs;
                        20                 5.      For punitive and exemplary damages as may be provided by law;

                        21                 6.      For Plaintiffs’ attorneys’ fees and costs as may be provided by law;

                        22                 7.      For prejudgment and post-judgment interest;

                        23                 8.      For profits, damages and costs (including treble damages), and attorneys’ fees

                        24          under 15 U.S.C. § 1117(a); and

                        25                 9.      For such other relief as the Court may deem just and proper.

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                                                                                            BRIPCO (UK) LIMITED
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                        12                                                  JURY DEMAND
                        13                Plaintiffs demand a jury trial on all claims and issues that are so triable.

                        14          December 29, 2015                                  FARELLA BRAUN + MARTEL LLP
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                                                                         SAN JOSE DIVISION
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                        13
                                                      Plaintiffs,                EXHIBIT A
                        14
                                           vs.                                   TO FIRST AMENDED COMPLAINT FOR
                        15
                                    FACEBOOK, INC.                               (1) BREACH OF CONTRACT;
                        16
                                                      Defendant.                 (2) MISAPPROPRIATION OF TRADE
                        17                                                       SECRETS;

                        18                                                       (3) VIOLATION OF THE LANHAM ACT
                                                                                 (15 U.S.C. § 1125); and
                        19
                                                                                 (4) UNFAIR BUSINESS
                        20                                                       PRACTICES/UNFAIR COMPETITION

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